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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Oliver W. Wanger
Senior United States District Judge
Fresno, California

                                         RE:    MARTIN, Samuel
                                                Docket Number: 1:99CR05103-09
                                                PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Tecate, Mexico. He is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On August 18, 2003, Samuel Martin was sentenced
for the offenses of Possession of Cocaine With the Intent to Distribute and Aiding and
Abetting; and Conspiracy to Possess With the Intent to Distribute Cocaine, Heroin, and
Methamphetamine.


Sentence imposed: The releasee was sentenced to 24 months in Bureau of Prisons, 60
months term of supervised release, mandatory testing, and $200 special assessment. His
special conditions include search and seizure, financial disclosure, drug testing, alcohol
restriction, co-payment plan, and drug registration.


Dates and Mode of Travel: He will be traveling by air and will be leaving March 14, 2008,
returning March 17, 2008.


Purpose: The releasee’s father suffered a heart attack and is hospitalized.




                                                                                                         R ev. 05/2006
                                            1           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
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RE:   MARTIN, Samuel
      Docket Number: 1:99CR05103-09
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                                  Respectfully Submitted,

                                  /s/ Marlene K. DeOrian

                                  Marlene K. DeOrian
                             United States Probation Officer


DATED:       March 11, 2008
             Fresno, California
             MKD



REVIEWED BY:           /s/ Bruce A. Vasquez
                      Bruce A. Vasquez
                      Supervising United States Probation Officer



ORDER OF THE COURT:




Approved          X                             Disapproved




IT IS SO ORDERED.

Dated: March 12, 2008                         /s/ Oliver W. Wanger
emm0d6                                   UNITED STATES DISTRICT JUDGE




                                                                                                            R ev. 05/2006
                                            2              T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
